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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


  PHILIP RIPTON              )
                             )
        Plaintiff,           )
                             )
  v.                         )                 CASE NO. 1:07-cv-20
                             )
  CAMP DRESSER & MCKEE, INC. )
  and CAMP DRESSER & MCKEE )
  BUILDERS, INC. f/k/a CDM   )
  CONSTRUCTORS, INC.         )
                             )
        Defendants.          )

                             STIPULATION OF DISMISSAL

          NOW COME the parties to the above-captioned action, by and through counsel,
  pursuant to the Federal Rules of Civil Procedure, and stipulate to the dismissal of this
  action, with prejudice, and without costs to any party.

  Dated at Portland, Maine this 29th day of October 2007.

                                                      Respectfully submitted,

                                                      /s/ Peter L. Thompson
                                                      Peter L. Thompson
                                                      Attorney for Plaintiff

                                                      Peter Thompson & Associates
                                                      92 Exchange Street, 2nd Floor
                                                      Portland, ME 04101


  Dated at Portland, Maine this 29th day of October 2007.

                                                      /s/ Christopher T. Vrountas
                                                      Christopher T. Vrountas
                                                      Attorney for Defendant

                                                      Nelson, Kinder, Mosseau & Saturley
                                                      99 Middle Street
                                                      Manchester, NH 03101
